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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 IN THE MATTER OF A CRIMINAL                                 1:20-mj-2666 TMD
                                                   Case No. ____________________
 COMPLAINT AGAINST JAMES DALE
 REED
                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Emily Zagone, Special Agent, United States Secret Service (“USSS”), being duly sworn,

depose and state as follows:

        1.      This Affidavit is submitted in support of a Criminal Complaint for James Dale

REED. As detailed below, there is probable cause to believe that on or about October 4, 2020,

REED violated 18 U.S.C. § 879, Threats to a major candidate for the office of President or Vice

President. The maximum penalty for this offense is five years’ imprisonment.

        2.      Specifically, on or about October 4, 2020 in the District of Maryland, the defendant,

James Dale REED, knowingly and willfully threatened to kill and to kidnap and to inflict bodily

harm upon Joseph Biden and Kamala Harris, who are major candidates for the office of the

President and Vice President of the United States, respectively, by stating, in writing, that “when

we capture Grandpa Biden we will all severely beat him to the point of death as for Mrs. Harris

she will be bent over and anally raped by my rifle barrel then for the grand end the [sic] both will

be executed on National Television,” in violation of Section 879 of Title 18 of the United States

Code.

                                  AFFIANT’S BACKGROUND


        3.      I am a duly appointed Special Agent with the USSS and have been employed as

such since June 2017. I have completed the Criminal Investigator Training Program at the

Department of Homeland Security’s Federal Law Enforcement Training Center, as well as the

Special Agent’s Training Course through the USSS James J. Rowley Training Center. Prior to
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serving with the USSS, I served as a Special Agent with the National Security Agency, Associate

Directorate for Security and Counterintelligence.

       4.      Throughout my career in law enforcement, I have become familiar with the

methods and techniques associated with financial institution fraud, identity theft, and protective

intelligence cases. In the course of conducting investigations, I have incorporated the use of the

following investigative techniques: interviewing informants, cooperating witnesses, victims and

subjects; physical surveillance and utilization of various surveillance techniques; supporting

undercover operations; participating in mobile wireless tracking missions; and preparing and

executing search and arrest warrants that have led to seizures of counterfeit currency, access

devices, instruments used to commit financial fraud, weapons, and other items of interest to

protective intelligence investigations.

       5.      Based on my knowledge, training, and experience in the investigation of threat

cases and protective intelligence investigations, I am familiar with the ways in which those who

threaten violence plan and carry out the act of making threats. My familiarity includes the various

means and methods by which individuals utilize cellular telephones and social media accounts to

relay their intentions to the public. I am also familiar with the ways in which those who commit

these crimes are able to do so without detection. As contrasted with financial crimes, which are

characterized by ongoing and repeated criminal activity, crimes against persons tend to be discrete

offenses.

       6.      I have set forth only the facts I believe are necessary to establish probable cause for

the issuance of a criminal complaint. The information contained in this Affidavit is based upon

my review of reports and documents, physical surveillances, observations, interviews and

investigative activity by myself and other law enforcement officers.




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                        FACTUAL BASIS FOR THE COMPLAINT


       7.      I was advised that Frederick City Police Department (FPD) had reported a letter

threatening candidates Joseph Biden and Kamala Harris was left on the doorstep of a resident of

Frederick, MD, on Sunday morning, October 4, 2020, at approximately 0426 hours. The likeness

of the subject who left the letter on the doorstep was captured by a Ring door camera. The Ring

device clearly captured the likeness of the male subject. The subject appeared to be a white male

wearing a beanie hat, gloves, and a military-like windbreaker. The resident of the home did not

know the subject depicted on the Ring video, but had several Biden/Harris signs located in the

yard. A photograph of the letter and the likeness of the male subject who delivered the letter are

set forth below:




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      8.      Investigators worked to identify the subject depicted in the video through multiple

interviews, facial recognition software, and anonymous tips to FPD. On October 9, 2020, an

anonymous tip to FPD provided information that caused investigators to focus on James Dale

REED, of Redwood Avenue, Frederick, MD. REED is known to the USSS for making a


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threatening statement against a person under USSS protection in 2014. An individual familiar

with REED viewed the Ring camera likeness of the person who delivered the threatening letter

and confirmed that person to be James Dale REED.

       9.      On October 13, 2020, REED was interviewed at his Redwood Avenue residence.

REED denied leaving a threatening letter or being the individual in the video presented to him.

Your affiant was present at this interview and noted that, despite his denials, Reed’s features and

mannerisms strongly resembled those of the individual featured in the Ring video surveillance.

       10.     On October 15, 2020, investigators contacted REED at his residence and requested

elimination palm prints and a more extensive handwriting sample. REED consented and complied

with both requests. Investigators again asked REED if he had written the threatening letter; REED

indicated that he had written the letter by nodding his head. He then explained his involvement to

the agents by saying that “This will happen” (referring to individuals making threatening

comments) due to the political climate.

       11.     REED was advised of his Miranda rights, which he voluntarily and willingly

waived by signing a Frederick Police Department Miranda form. Investigators audio-recorded

this waiver and all subsequent questioning. REED then admitted to writing the letter on Saturday

evening, October 3, 2020, because he was upset at the political situation. REED then drove to

Kline Blvd in the early morning hours of October 4, 2020, and took the letter to the first house he

saw with multiple democratic political signs. REED stated that he observed the residence located

on Kline Boulevard, Frederick, MD, drove past the residence, exited his vehicle, and delivered the

letter to the mailbox. REED stated repeatedly that he did not know the residents of the house, nor

had he surveilled it previously. REED stated that upon dropping the letter in the mailbox, he left

and returned to his residence.




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       12.      Based on my training and experience, I know that the plain meaning as well as

context of the threats of violence made in the letter constitutes a violation of 18 U.S.C. § 879. As

a result of the above described information, there is probable cause to believe that James Dale

REED violated 18 U.S.C. § 879, Threats to a major candidate for the office of President or Vice

President.

       13.      WHEREFORE, I respectfully request that the Court authorize the attached

Criminal Complaint.

       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.




                                              _______________________________
                                              Special Agent Emily Zagone
                                              U.S. Secret Service


                                                                       y telephone
Affidavit submitted by e-mail and attested to me as true and accurate by     p     consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this         day of October, 2020.


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                                              Hon. Th
                                              H    Thomas M M. DiGi
                                                               DiGirolamo
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                                              United States Magistrate Judge




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